‘Kenosha County EMS System Provider License No. 24 4 £2
Menasha Hospital & Medical Center and St. Sa 63 Patient No. J
“Date Lea l OF. f 8. FEB 19 7008 Report Continued? O Yes "af

bent yee —__—Vete No. Ze ¢ AcabuivenNOsKimenrNhe” No. PE =ZEL/ ?

CLERK OF CIRCUH COURT
Patient Information Time Information

Tocation of Call > Received [yo &
IQVO name L&C C.Sensen Enroute \ be 5
LeDOo Initial Unit on Sceng.Si} {

Address q 020 _ Lp, At Location los)
City Vléasamd Frail State Zip 5 31 To Hospital Whe
Age YR Sex, Date of Birth 2/26/S At Hospital
TelephoneNo. BAT 5AHY- in Service (9 2718 162).

Local Physician v4 End Mileage _

OT Mma Dispatched As ? DB Begin Begin Mileage
Chief Complaint Total Mileage
Wim dications
ESCONS SE Ox4 mat TS as pF heey

Pulse Resp. | Pupils | Mental | Skin _| __Breath Sounds __
o oO oO oO © ORA | L....... Bales .......R Din fn bien

ys Got ® * | presentstedientions Allerg re 8

Breath sounds
changed enroute.
see narrative
Q Yes QNo WK#
Bystande¥ Treatment Medical History Treatment and Procedure ’
Q Heart Disease Assessment/Evaluation 01 ~ wv
Q Asthma Vital Signs 02 u
Arrest Witnessed OQ Yes QNo Q Diabetes Bandaging 03
Time of Arrest Q Stroke Controlled Bleeding 04
CPR QYes QNo Q Substance Use Limb Splints 05
By Whom Q Hypertension Traction Splint 06
CPR Stop Time Q COPD Spinal {mmobilization 07
Seat BeltUsed OQ Yes QNo Q Epilepsy OB Delivery 08
Blood/Body Fluid Exposure OQ Yes QNo Q OB/Gyn. Mast Application 09
Explain Q Psych. Oxygen 10
: Other Suction Airway 11
Oral Airway 12
Assessment/Narrative We nt 10 Viele & EOA or EGTA 13
“oes or Cr prerSloy Endotracheal Tube _—_—14
uO Far days Prdor Yo Breath Sounds 15
AO tng to Soc tor Communication 16 —
Maro SGnosp O SN > Cardiac Compressions _17
Leads Ned Usyockack 4) WED Cardiac Monitor Use__18 i
HA > yh cats ee mek 32 SRF EAD ©) Defibrillation 19
S\ ES LV, Unable 20
: IV, Start 21
BG Chem Stick 22
Blood Draw 23
Drug Administration _24
Medical Direction Recelving Signature Other
Q (R)adio A (P)hone QO (Chetluar O (Direct Print Name and License
Recelving Facility rere Signatire
S4  x<ax\yrcCase 2:11-cv-008 eee ; Sit S Pans 1 of 4
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Service No 91210 OUT OF HOSPITAL CARE REPORT Unit No.se44

. Pleasant Prairie Fire & Rescue Dispatch Date 12/03/1998
incident No 98-901159 Onset Date 12/03/1998 Report Date 12/03/1998 Station 4 Times Response Analysis
Crash No Trauma ID 911 Used 1 917 Shift 3 Dispatch Notified 16:32:00 Dispatch 00:00:00
* Cone Address Rm Location Type Unit Notifled 16:32:00 En Route 00:00:00
- ‘9020 Lakeshore Drive 29 Other Residence Unit Enroute 16:32:00 To Scene 00:03:00
Pleasant Pralrie, Wi 53158 Response Code to Scene Arrived Scene 16:35:00 AtScene 00:00:00
1 Emergency "Enroute Dest Transport 00:00:00
Highest Experience Level at Scene Arrived Dest Out of Srv 04:55:00
Township PLPR CountyKEN Census 0020.00 P EMT-Paramedic Back In Service 18:27:00 Total Time 01:55:00
District NON Lights & Siren to Scene? Yes Mutual Ald None ALS Arrival 16:35: Total Miles 0.00
Occup Id Loaded Miles 0.00
Patlent# 004 Name Jensen, Julle C SSN XXX-XX-XXXX Gender Female 00802/26/1958
Address 9020 Lakeshore Drive City Pleasant Prairie Stwi Zip 53158 Phone 414-694-5884
Race 99 Unknown Age 40yrs 10 mos
Dispatched For PNB Injury Sustained? N/A
Chief Complaint Unresponsive 0-0-0 Injury Intent8 Not Applicable
Provider Impression 798.99 Obvious Death Cause of Injury
Tx Authorization 3. Protocols Alcohol/Drug Use 99 Unknown
Patient Prior Medical History Factors Affecting EMS Care Prior EMS Care Given Safety Equipt Worn by Patient
87 Psychiatric
Patlent/Staff Exposures Exposure Precautions Taken
Staff Member Exposure Type Staff Member Precaution Type
5011 Ryan P Holm 02 Gloves
5015 Michael A Barnes 02 Gloves
5063 David P Wilkinson 02 Gloves
InjuryAliness Detall
Type = Area Severity Primary Symptom Job Rel?
Procedures Performed Medications Administered
Time Procedure Staffild Success? Time Medication Staff Id Dosage
16:35 89.51 ECG Monitoring 5011 Y
16:35 COMM Communication 5011 Y
16:35 EXAM Physical Exam/Assessment 5011 Y
Vitals
Time Pulse Resp Temp BP ECG Rhythm GCS RTS SkinParameters Pupil R Pupil Skin Perf. Resp. Effort
16:35 98.60 / 02 Asystole 3 Dry/CyanCool No Res No Res Decr Absent
* Denotes Blood Pressure Reading by Palpation (PJosture: 1=Supine 2=Sitting 3=Standing 4=Prone
Disposition
Patient Transported? No Mode of Transport
Transported to NA Not Applicable Dest Determined by
Agency Tiered with Diverted to NA Not Applicable
Lights & Siren from Scene? No Patlent Disposition 12 Dead at Scene
insurance
Type Policy # Agent City Phone Insured Name
Narrative

Called to location for a P.N.B. female, dispatch stayed that it was a possible “F” frank. Upon arrival found 41 Y¥.O. female lying face down in bed,
rigidity and pooling of blood In the face and left side. Pt placed on HM and showed asystole In three leads. Med control contacted with no furthe
orders. Pt has a history of depression and had taken medication for It. All pills were accounted for In the prescription bottles. Only three of ten

Case 2:11-cv-00803-WCG Filed ggogs2 7° 2 of 4 Document 46-12
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Service v0 91210 —Inci# 98-901159  Pt# 004 OUT OF HOSPITAL CARE REPORT Unit No.5644
\ Pleasant Pralrie Fire & Rescue Olspatch Date 12/03/1998
° were missing from an Rx filled yesterday. P.D. on location took control of scene and medical examiner contacted.

Responding Personnel

a, Staffid Name/Rank : Unit Position
5004 Andersen, Dennis J/Assistant Chief sT1 PR Pald on Call - Rescue
5011 Holm, Ryan P/Firemedic . 5641 FD ‘Full-time On Duty
*5015 Barnes, Michael A/Firemedic 5641. . FD Full-time On Duty
5020 Brehm, Robert L/Paramedic _ 5644 PR Pald on Call - Rescue
5021 Alla, John A/Firefighter Emt-DA 5644 PR Pald on Call - Rescue
5044. Poltrock Il, Kerry WiFireflghter Emt-DA . 7 5641 PR Pald on Call - Rescue
5063 Wilkinson, David P/Firefighter Emt-DA , 5641 PR |. Pald on Call - Rescue

* Denotes Driver
Officer/Member Making Report

Officer Name Holm, Ryan P/Firemedic Date 12/03/1998 Signature

Member Name Holm, Ryan P/Firemedic Date 12/03/1998 Signature

Signature of Attending Physician

wage

Case 2:11-cv-00803-WCG FIlEQG GSH Page 30f 4 Document 46-12
12/03/98 6:38 PM

On this date | responded to the scene of a reported person unconscious and
not breathing. Upon my arrival | entered the house with a police officer coming in
shortly behind me we were directed to the rear bedroom, by the husband of our pt.,
who also stated that his wife was taking a sleeping pill and an antidepressant.
When | entered the room | found the pt. lying on the bed on left lateral side,

_ covered with her blankets in a semi-fetal position. At‘that time | noticed that the
telephone was off the hook. Which I placed on the base while in view of the officer.
| then went over to the pt. and checked for a carotid pulse and felt none. | then
moved the covers off of the right hand and again check for a radial pulse again | felt
nothing. At that time | felt the arm which was cold, appeared to be stiff and in

rigormortis. At that time | waited for 5641 to arrive and confirm her state.
David Wilkinson

FF / EMT-DA

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